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              PROPOSED LANGUAGE FOR SENTENCING ORDER


        The United States respectfully proposes that the sentencing order for

  Defendant Jeremy DeWitte include the below language in the section that

  specifies the Special Conditions of Supervision:

              As a condition of defendant’s supervised release,

        defendant must make restitution to the following payee in the

        amount listed below.

         Name of Payee                               Restitution
                                                     ordered
         Internal Revenue                            $69,461
         Service – RACS
         Attn: Mail Stop
         6261, Restitution
         333 West Pershing
         Ave.
         Kansas City, MO
         64108


        Schedule of Payments and Terms:

              It is further ordered that a lump-sum payment of the

        restitution is due upon commencement of defendant’s

        supervised release. If defendant is unable to fully pay the full

        amount of restitution at that time, the defendant shall make

        monthly payments of $100, or 10% of his gross earnings,

        whichever is greater, while on supervised release.
                                                                                Exhibit
                                                                             _____________
                                                                                   3
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              The defendant shall send all restitution payments made

        pursuant to the court’s restitution order to the Clerk of the

        Court for the Middle District of Florida, and with each

        payment to the Clerk of Court, the defendant shall provide the

        following information: the defendant's name and Social

        Security number; the District Court and the docket number

        assigned to this case; tax years or period for which restitution

        has been ordered; and a statement that the payment is being

        submitted pursuant to the Court’s restitution order. The

        defendant shall include with each payment a request that the

        Clerk of Court send the information, along with the

        defendant’s payments, to the IRS address below:

                                 IRS – RACS
                       Attn: Mail Stop 6261, Restitution
                             333 W. Pershing Ave.
                           Kansas City, MO 64108




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